         Case 1:11-cr-00270-JB-N                      Doc# 211          Filed 11/06/15             Page 1 of 1                 PageID# 1350
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                      TYLER JOE VINSON                                          &DVH1R       11-00270-001
                                                                                8601R 12342-003
'DWHRI2ULJLQDO-XGJPHQW                            06-18-2012
'DWHRI3UHYLRXV$PHQGHG-XGJPHQW                                              Pro Se
(Use Date of Last Amended Judgment if Any)                                      Defendant’s Attorney


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                                             (Complete Parts I and II of Page 2 when motion is granted)


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,7,66225'(5('                                                                                                Digitally signed by Callie V. S. Granade U.S. District Judge
                                                                                                                 DN: cn=Callie V. S. Granade U.S. District Judge, o=Federal
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                                                                                                                 email=efile_granade@alsd.uscourts.gov, c=US
2UGHU'DWH             November 6, 2015                                                                         Date: 2015.11.06 17:12:08 -06'00'

                                                                                                      Judge’s signature


(IIHFWLYH'DWH                                                                              United States District Judge
                     (if different from order date)                                                Printed name and title
